
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered at its February 5, 2019, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted only on the issue whether the persistent offender sentence violates the state or federal prohibition against cruel and unusual punishment. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
For the Court/s/ Fairhurst, C.J. CHIEF JUSTICE
